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EXHIBIT C
 

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& PNCBANK

PNG Bank, National Association
P.O. Box 5570

Cleveland, OH 44101-0570

Lori A Wigod
1735 N Paulina St Apt 601
Chicago, IL 60622-1198

Date: November 23, 2016
RE: Account Number: 4480-6183.2128.0050 ("Account")
“" Name of Servicer: PNG Bankr N:A: °° _* mee eae on serene came 9 ey et
Address of Servicer: P.O. Box 8570, Cleveland, OH 44101-0570
Telephone Number of Servicer; 1-866-622-2557

Dear Lori A Wigad:

We are contacting you on behalf of ETrade Bank.

Based on a review of the information you provided, we are unable to offer mortgage payment assistance to you
at this time.

We have received your request for assistance. Based on a review of the information yoy provided, we are unable to offer
mortgage payment assistance at this time.

However, you may be eligible but not yet approved for a liquidation option. If you are interested in learning more about
your liquidation options, please contact Tracy Jones X65251 at 1-866-622-2657 ext.65251. For your reference, these
options are described below:

- Short Sale: Sell your home and release the lien(s) by paying off a portion of your home equity account balance when
you owe more on the home than it's worth. All lien holders must agree to the price, You may be required to pay the
ramaining home equity account balance in a lump sum or over time.
- Deed-in-Lieu of Foreclosure: You may transfer ownership of your property to us. This allows you to transition out of
your home without going through foreclosure. This option works best when there are no other liens on your property.
“Here are instructions for continuing thé liquidation eligibility: vee mee mee ess
Please contact Tracy Jones X65251 at 1-666-622-2657 by December 7, 2016 to discuss possible liquidation options.
Please be advised that if PNC Bank, N.A. does not receive acknowledgement of your interest to consider liquidation

options by December 7, 2016, then normal servicing of your loan will continue, which may include collection and
foreclosure proceedings, if applicable. If these proceedings were previously suspended, they may begin ence more.

Here is information about Modifications you were not approved to receive:
We have completed our review of your hardship assistance request for Loan Modification, However, we cannot approve
your request for assistance at this time. Our decision was based on the following reason(s):

Income insufficient to support credit obligations

NOTICE: SEE REVERSE SIDE FOR IMPORTANT INFORMATION
 

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02/13/2017 IF:

Here Is how you can appeal the denials listed above:

if you would like to appeal the denial of the loan modifications listed above,
Instead, if you wish to dispute this decline, we must receive written request by Dacember 23
include your full name, loan nurnber, ard Property address and any written evidence to Support your dispute. You may
Submit your request in writing to the address below:

Logs Mitigation BR-YB58-01-3, PO BOX 5570, Cleveland, OH 44101-8853

Here is how you ean reach us if you have questions or need assistance:

Our goal is to help you make informed decisions regarding your home equity loan, and we are available to support you
through this process,

if you have any questions about this latter or if you have decided to leave your home but still want to avoid foreclosure,
you may contact your representative Tracy Jones X65251 at 1-886-622-2657 ext, 65251. Our representatives are
available 8 a.m, to § p.m, Monday » Friday ET,

The decision to deny your modification request was based in whole or in part on information obtained in a report from the
consumer reporting agency listed below:

Experlan 701 Experian Parkway P.O, Box 2002 Allen, TX 76013 1-888-397-3742 www. experlan. com/reportaccegs

The consumer credit reporting agency identified above did not make the decision to deny your modification request and is
unabla to provide you with specific reasong why this action was taken,

Your rights under the Fair Credit Reporting Act:

* You have the right to know the information in your credit report

* You have the right to a free copy of the report from the consumer reporting agency that provided information, if your
reaquést to the consumer reporting agency is made within 60 days of receiving this letter.

* You have the right to file a dispute with the consumer reporting agency if you find that any information in your raport is
inaccurate or incomplete.

Notice: The faderal Equal Credit Opportunity Act prohibits creditors from discriminating against credit applicants on the
basis of race, color, religion, national origin, sex, marital status, age (provided the applicant has the capacity to enter into a
binding contract): because all or part of the applicants income derives from any public assistance program: or because the
applicant has in good faith exercised any right under the Consumer Credit Protection Act, The federal agency that
administers compliance with this law concerning this creditor is Bureau of Consumer Financial Protection, 1700 G Streat
NW., Washington DG 20006,

Sincerely,
PNC Bank, NLA,

This is an attempt to collgct a debt and/or enforce our tien. Any information obtained will bo used for that purpose unigss
prohibited by applicable law. However, if this debt has heen diachargod or If you sre protected by the automatic stay in
bankruptey, we aro not attompting to collect the debt from you porsanally, and if wo huve obtained rellef trem the automate
Stay, We will only exoreige our righta against any collateral. By providing this notice wo de not waive any applicable
oxomptions from state or federal colloction fawa.

if you are requesting modified Payments or othor logs mitigation, ploase note that normal collestion activity, collection
litigation and/or foraclesure setlvity may continue on your lean te the axtent allowed by law while your roquest ly boing
raviewod, Any information requested may bo necessary to detormine your oligibility tor ioxs mitigation options,

Hours of Operation: 8 am. te 5 pr. Monday - Friday BT
